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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA =) ~— CRIM. NO. 1:21-MJ-0007
v. (CARLSON, M.J.)
RILEY JUNE WILLIAMS,
Defendant.
MOTION FOR DETENTION

 

AND NOW comes the United States of America, by its
undersigned counsel and, pursuant to Title 18 United States Code, §
3142, hereby requests detention of the above-named defendant, and sets
forth in support thereof:

_X 1. That the government is entitled to a detention hearing based
upon the following:

____a. Defendant is charged with a crime of violence as

defined in Title 18 U.S.C. § 3156 or an offense listed in

Title 18 U.S.C. § 2332(g)(5)(B) for which a maximum

term of imprisonment of 10 years or more is prescribed,

see 18 U.S.C. § 3142(f)(1)(A); or
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b. Defendant is charged with an offense for which the
maximum sentence is life imprisonment or death, see
18 U.S.C. § 3142(f)(1)(B): or

c. Defendant is charged with an offense for which a
maximum term of imprisonment of 10 years or more is
prescribed in the Controlled Substances Act (Title 21,
U.S.C. § 801, et seq.), or Section 1 of the Act of
September 15, 1980 (Title 21, U.S.C. § 955a), see 18
U.S.C. § 3142(f)(1)(C): or

d. Defendant is presently charged with a felony and has
been convicted of two or more offenses described in
subparagraph a-c above, or two or more state or local
offenses that would have been offenses described in
subparagraphs acc above if a circumstance giving rise
to federal jurisdiction had existed or a combination of
such offenses, see 18 U.S.C. § 3142()(1)(D); or

e. Defendant is charged with a felony that is not
otherwise a crime of violence that involves a minor

victim or that involves the possession or use of a
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firearm or destructive device, or involves a failure to
register under § 2250 of Title 18, United States Code.
See 18 U.S.C. § 3142(£)(1)(E).

That a serious risk exists that defendant will flee, see
18 U.S.C. § 8142(f)(2)(A); or

That a serious risk exists that defendant will obstruct
or attempt to obstruct justice or threaten injure or
intimidate or attempt to threaten injure or intimidate,

a prospective witness or juror. See 18 U.S.C. §

3142(f)(2)(B).

That a rebuttable presumption arises that no condition or

combination of conditions will reasonably assure the safety

of any other person and the community, in that:

a.

That defendant has been convicted of a federal offense
described in subsection 1(a)-(d) above, or of a state or
local offense that would have been an offense described
in subsection 1(a)-(d) above if a circumstance giving

rise to federal jurisdiction had existed;
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That the offenses described in paragraphs 1(a)-(d)
above were committed while defendant was on
release pending trial for a federal, state, or local
offense: and

A period of not more than five years has elapsed since
the date of defendant's conviction or release from

imprisonment for the offenses described in paragraph

1(a)-(d) whichever is later. See 18 U.S.C. § 3142(e).

That a rebuttable presumption arises that no condition or

combination of conditions will reasonably assure the

appearance of defendant as required and the safety of the

community, in that:

a.

Defendant committed an offense for which a maximum
term of imprisonment of ten years or more 1s
prescribed in the Controlled Substances Act (Title 21,
U.S.C. § 951, et. seq.), Section 1 of the Act of
September 15, 1980 (Title 21, U.S.C. § 955a); or
Defendant committed an offense under Title 18, U.S.C.

§ 924(c), that is, defendant did during and in relation
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to any crime of violence or drug trafficking crime use or
carry a firearm; or

c. Defendant committed an offense under Title 18, U.S.C.
§ 2332b(¢)(5)(B) for which a maximum term of
imprisonment of ten years or more is prescribed, or an
offense involving a minor victim under Title 18, U.S.C.
§§ 1201, 1591, 2241-42, 2244-45, 2251-52, 2260, 2421-

23 or 2425. See 18 U.S.C. § 3142(e)(3)(C) and (E).

4 4, The Government further submits that no condition or

combination of conditions will reasonably assure the
appearance of defendant as required and the safety of any
other person and the community because:
X__a. Defendant is a danger to any other person or the
community, and/or:
X__ b. Defendant is a flight risk.
5. The defendant is currently in custody on other matters. The
United States requests the entry of a detention order at this
time without prejudice to a full detention hearing in the

event that the defendant's custodial status changes.
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6. The United States requests a continuance of three days in

which to prepare for a hearing on this motion.

Date: January 19, 2021

Respectfully submitted,

BRUCE D. BRANDLER
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